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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 SPECTRUM LABORATORIES, LLC, an              §
 Ohio Limited Liability Company,             §
                                             §
         Plaintiff,                          §     CIVIL ACTION NO. 4:22-cv-03705
                                             §
 v.                                          §     JUDGE CHARLES ESKRIDGE
                                             §
 URZ TRENDZ, LLC A/K/A FLY FRESH             §
 SMOKE; and DOES #1-10,                      §
                                             §
         Defendants.                         §

                             Plaintiff’s Motion for Sanctions

        In accordance with this Court’s July 5, 2024 Order [Dkt. 120], the Court’s inherent

power, and Fed. R. Civ. P. 37, Spectrum Laboratories, LLC (“Spectrum”) moves for

sanctions against URZ Trendz, LLC (“URZ”) and respectfully shows as follows:

                                              I.
                       NATURE AND STAGE OF THE PROCEEDINGS

        Since first receiving Spectrum’s document subpoena in March 2023, URZ has tried

every conceivable tactic to prevent Spectrum from obtaining URZ’s discovery. On May 3,

2024, the Court partially granted Spectrum’s Motion for Sanctions, and ordered URZ to

submit to ESI discovery. Dkt. 111. The Court ordered that, if the results of the discovery

suggested substantial noncompliance by URZ, Spectrum was permitted to move to shift

the costs of the discovery. Id. URZ refused to permit the ESI discovery, moved for

reconsideration, and then moved to stay the ESI order and petitioned for a writ of

mandamus overturning the ESI order. Dkt. 115.




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        On June 21, 2024, the Court denied URZ’s motion to stay, ordered URZ to provide

an inventory of its ESI-bearing devices by June 24, 2024, and ordered URZ to submit to

the ESI collection and preservation by July 6, 2024. See Dkts. 112, 118. Despite this Order,

URZ refused to comply. Consequently, on June 21, 2024, Spectrum filed an emergency

motion to compel and for sanctions [Dkt. 119]. On July 5, 2024, the Court ordered the

following:




Dkt. 120. Spectrum diligently attempted to collect the ESI discovery following the Court’s

order but was met with resistance from URZ. From May until August, URZ refused to

meaningfully confer with Spectrum or to give Spectrum’s ESI vendor the basic information

needed to plan and execute a proper and efficient ESI collection. See Dkts. 119, 120. URZ

also sought to unilaterally impose limitations on the ESI collection to further hinder

Spectrum’s collection efforts.



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        On August 8, 2024, Spectrum was finally able to conduct a physical inspection and

ESI collection. Just two days before, on August 6, URZ informed Spectrum that two of its

computers had inexplicably “stopped working.” Nonetheless, Spectrum performed the

physical inspection on the agreed date, and collected as much ESI data as possible from

URZ’s suddenly-inoperable computers (within the 24-hour time frame unilaterally

imposed by URZ).

        URZ continues to block Spectrum’s ESI vendor from gaining access to URZ’s

email accounts, refusing to provide the two-factor authentication necessary to access

URZ’s Gmail accounts and also refusing to permit the ESI vendor to complete his work on

the inoperable computers. Despite only completing some of the ESI work, the initial ESI

information collected confirms what Spectrum knew all along: URZ possesses, but refuses

to produce, discoverable information.

        Spectrum now requests an order for sanctions and for other appropriate relief,

including (1) shifting discovery costs; (2) requiring URZ to provide information related to

the undisclosed email accounts and to allow Spectrum to complete the attempted ESI

discovery; (3) striking URZ’s counterclaims and defenses; (4) entering default judgment

against URZ; and (5) awarding Spectrum its attorney’s fees.

                                               II.
                               ISSUES REQUIRING RESOLUTION

        1.        Should the Court sanction URZ for repeatedly disobeying the Court’s Orders

by requiring it, once again, to fully comply with prior ESI orders and to pay Spectrum’s

attorneys’ fees and vendor costs associated with its efforts to gain URZ’s compliance?



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        2.        Should the Court further sanction URZ for repeatedly disobeying the Court’s

Orders by striking its pleadings and entering a default judgment against URZ?

        A district court’s enforcement of discovery orders is reviewed under a deferential

abuse of discretion standard. Bennett v. Harford Ins. Co. of Midwest, 890 F.3d 597, 603

(5th Cir. 2018). Considering the broad discretion given to trial courts on discovery issues,

it is “unusual [for an appellate court] to find abuse of discretion in these matters.” Swanner

v. United States, 406 F.2d 716, 719 (5th Cir. 1969). The trial court’s decision should be

reversed only in an “unusual and exceptional case.” Brown v. Thompson, 430 F.2d 1214,

1216 (5th Cir. 1970).

                                               III.
                                   SUMMARY OF ARGUMENT

        As summarized below and detailed herein, URZ continues to refuse to comply with

multiple Court orders as to its discovery obligations.

     July 5, 2025 - URZ is ordered to fully comply with the Court’s prior orders by July
      12, 2014.

     Prior to and after this Order, URZ does not respond, or feigns ignorance as to the
      need for the information, or makes unjustified demands and limitations on
      Spectrum’s ability to conduct the court-ordered ESI collection.

     To at least get the process started, Spectrum acquiesced to URZ’s unjustified
      limitations on Spectrum’s ability and scheduled the ESI collection on July 8, 2024.

     Hurricane Beryl struck on July 8, necessitating that the collection be rescheduled,
      which was then further delayed due to URZ’s and its counsel’s vacations.

     Spectrum agreed to conduct the ESI collection on August 8, and again acquiesced
      to URZ’s unjustified limitations imposed on Spectrum.

     Two days before the August 8 collection, URZ notified Spectrum that URZ’s two
      computers were inexplicably inoperable.



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      Despite the fact that the computers were inoperable, URZ demanded that Spectrum
       conduct its collection efforts in less than 24 hours.

        As of the date of this filing, URZ remains in contempt of the Court’s orders,

including without limitation: (1) refusing to provide Spectrum the required information to

access the two disclosed URZ email accounts; (2) failing to disclose or provide any

information to access nine additional URZ email accounts that, from the ESI collection

done to date, appear to contain responsive discovery; and (3) refusing to allow Spectrum

the required time to fully and adequately attempt collection of the data on the now

“inoperable” computers.

                                             IV.
                                  STATEMENT OF FACTS

A.      URZ’s initial refusal to comply

        Since URZ was first served with a subpoena requesting documents related to Quick

Fix in March 2023, URZ has refused to comply with the subpoena and this Court’s Orders

and obstructed Spectrum’s efforts to collect discovery. Spectrum has submitted multiple

discovery letters and filed several motions to obtain this. See Dkt. 45, Dkt. 83, Dkt. 112,

Dkt. 119; see also letters dated June 2, July 24, October 20, and December 14, 2023

attached as Exhibits 7 through 10.

        URZ’s defiance again necessitates this Court’s intervention. The following facts are

of significance here.

        On June 16, 2023, this Court first admonished URZ, stating that “this Court will not

hesitate to impose sanctions for willful disobedience of this order and/or discovery

obligations.” Dkt. 53. On June 29, 2023, URZ moved to dismiss Spectrum’s claims against


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it, and brazenly accused the Court of allegedly “protecting Plaintiff’s [alleged] criminal

empire” by permitting third party discovery. Dkt. 56.

        On September 5, 2023, the Court again admonished URZ , finding that “URZ hasn’t

been cooperative or proceeding in accordance with its discovery obligations.” Dkt. 63. In

the same Order, the Court denied URZ’s motion to dismiss and ordered URZ to produce

responsive documents to Spectrum’s pending requests. Id.

        On November 29, 2023, the Court admonished URZ a third time and stated

Spectrum could bring a motion for relief based on URZ’s “discovery abuses and failure by

[URZ] to abide by Court order.” Dkt. 80. The Court also took “under advisement whether

the time is yet appropriate to strike defenses in this action or impose other sanctions.” Id.

        In a hearing on February 13, 2024, the Court again warned URZ that the Court takes

compliance with discovery obligations seriously. Dkt. 112-1, 10:22–24. The Court advised

URZ’s counsel to “admonish his client that any misrepresentations made to the Court about

discovery would be taken seriously.” Dkts 97, 112-1. These representations included that

URZ had produced all responsive documents. Dkt. 112-1, 9:23–10:12. On May 3, 2024,

the Court again admonished URZ to comply with the Court’s Orders and its discovery

obligations, stating URZ’s “[f]ailure to comply may result in monetary sanctions or a

default judgment against it in Spectrum’s favor.” Dkt. 111.

B.      URZ’s discovery misconduct continues

        On May 3, 2024, the Court entered an Order permitting extensive ESI discovery and

a physical inspection of URZ’s premises, and permitting Spectrum to move to shift the




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costs of its ESI vendor to URZ if “later production of relevant documents suggests

substantial noncompliance.” Dkt. 111.

        On May 9, 2024, Spectrum sent URZ a letter requesting necessary information to

effectuate the ESI inspection. Dkt. 112-2; see also Exhibit 1, Declaration of Aaron Hughes

at ¶ 4. Spectrum asked for email accounts and passwords, and the number and type of

devices. Id. Instead of responding, on May 21, 2024, URZ filed a Petition for Writ of

Mandamus contending that ESI imaging was not warranted and improper. The Petition was

swiftly denied.

        On June 10, 2024, Spectrum filed its Motion to Preserve ESI wherein Spectrum

requested that the Court order URZ to produce the information previously sought in the

May 9 Letter within three days, and to permit forensic copying of that evidence within

fifteen days of that Order. Dkt. 112. On June 17, 2024, URZ sought to stay enforcement

of the ESI order. Dkt. 115. On June 21, 2024, the Court granted Spectrum’s motion and

denied URZ’s motion to stay. See Dkt. 118. URZ still has not provided all of the

information requested on May 9, 2024.

        Instead, on June 25, 2024, URZ stated that it was “ready to proceed,” but also

advised that its representatives and/or counsel had planned vacations collectively from July

10, 2024 until August 15, 2024. Exhibit 2, at 10. In response, Spectrum again demanded

that URZ respond to Spectrum’s May 9 Letter as ordered by the Court and explained that

the inspection could not occur until Spectrum’s ESI vendor had this information. Id. at 9.

On June 28, 2024, URZ advised that it “disagreed” that responding to the letter was

required but stated URZ would “cooperate in good faith” to obtain as much of the


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information as it could, and that the ESI devices were available for inspection on July 3,

July 5, and July 8. Id. at 7-8.

        On July 1, 2024, Spectrum responded asking for a call with URZ’s counsel to

discuss the information requested in the May 9 Letter so that Spectrum could complete the

collection within URZ’s suggested timeframe. Id. at 6; see also Exhibit 1 at ¶¶ 3-6. On

July 2, 2024, Spectrum sent another email, again requesting a meet-and-confer between

Spectrum and URZ to facilitate the collection of the ESI information within URZ’s

timeframe. Id. at 5.

        In response, URZ indicated that it would “likely” have the information requested in

the May 9 Letter by the end of the week (July 5). Id. at 3-4. URZ offered to send its ESI-

bearing devices to Spectrum’s vendor on one of the proffered dates for a collection that it

“presumed” would take no longer than 1 hour, but only if someone stayed onsite for the

collection. Id.; Exhibit 1 at ¶ 7. In reply, Spectrum’s counsel stated that it could not agree

to URZ’s proposal because the information requested in the May 9 Letter was required

prior to any attempt to collect the ESI data. Exhibit 1 at ¶ 7. Spectrum warned URZ if it

did not provide the information requested by the May 9 Letter by July 3, 2024, it would

seek emergency relief from this Court, including sanctions. Id. at 3.

        Near close of business on July 3, 2024, after URZ failed (again) to provide the

information requested in the May 9 Letter, Spectrum filed its Emergency Motion to

Compel and for Sanctions. Dkt. 119. Around that time, URZ provided some of the

information requested by Spectrum’s May 9 Letter, including two email addresses (but not




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passwords or other access information), computer types, and cell phone types. Exhibit 2 at

1-2.

         On July 5, 2024, the Court once more ordered URZ to comply with its discovery

obligations and allow Spectrum to conduct the previously-ordered ESI collection. Dkt. 120.

“For the avoidance of doubt, it is ORDERED that [URZ] must fully comply with the

Court’s prior orders by July 12, 2024.” Id. Later that day, Spectrum again requested the

information in its May 9 Letter, and again requested a call between URZ and Spectrum to

coordinate the collection efforts. Exhibit 3 at 7-8. URZ, ignoring the conference request,

confirmed the inspection date and that all passwords/pins for the devices would be provided

during the inspection, but insisted all imaging take place at URZ and after business hours.

Id. at 6-7. Spectrum reluctantly agreed to the onsite collection on July 8. Exhibit 3 at 7-8.

         On July 8, 2024, Hurricane Beryl made landfall and caused significant property

damage and widespread power outages. See id. at 5. Consequently, Spectrum requested

that the collection and inspection be postponed until July 12, 2024 given the extent of the

damage following the storm. Exhibit 3 at 4-5. Spectrum also stated the collection would

require reliable internet at URZ’s facility and again requested URZ’s full response to its

May 9 Letter to facilitate the complete ESI collection. Id.

         On July 10, 2024, URZ responded and (inaccurately) contended it had provided all

information requested in the May 9 letter. Id. at 3-4. URZ also sought confirmation of its

compliance with the Court’s Order, save for exceptions it characterized as Spectrum’s ESI

vendor’s fault. Id. On July 11, 2024, Spectrum provided a list of the missing information,




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including the hard drive sizes and operating systems of each computer, PIN codes,

usernames, passwords, and encryption keys for all devices. Id. at 2-4.

        On July 12, 2024, the Court’s deadline for URZ’s compliance with its most recent

discovery order, URZ’s counsel responded that he would not provide the necessary

passwords: “I refused to accept possession or knowledge of URZ’s email passwords to pass

on to you. . . . There is no valid reason for me to be responsible for securing highly

confidential passwords from inadvertent disclosure.” Id. at 1-2.

        On July 22, 2024, having provided URZ ample time to recover from the impact of

Hurricane Beryl, Spectrum again sought availability for the ESI collection and inspection,

as well as the missing information. Spectrum further advised URZ that it would again seek

relief from the Court if the ESI collection was not completed by August 2, 2024. Exhibit 4

at 6. On July 25, 2024, URZ responded, stating that both counsel and client are on vacation

and promised to attempt to coordinate the collection upon return. Id. at 5.

        On July 29 and July 30, 2024, Spectrum supplied dates that its ESI vendor was

available to conduct the collection. Id. On July 31, 2024, URZ finally agreed to August 8,

2024 for the date of collection and inspection. Id. at 5.

        Then on August 6, 2024, URZ informed Spectrum that its two computers “stopped

working” the week prior and offered to deliver them along with the subject cell phones to

the ESI vendor, but expected a same-day turnaround for the imaging of all devices. Exhibit

5 at 7-8. Spectrum agreed it would send a courier to pick up the devices, but demanded

more than one day for the imaging. Exhibit 5 at 6-7. URZ refused, arguing it could not

allow the cell phones subject to the order to stay in the ESI vendor’s possession (on the


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basis that the Order is “not a seizure order”) but would leave the inoperable computers with

the ESI vendor for one day only. Exhibit 5 at 5-6.

         When Spectrum pointed out the dubious nature of the claim that URZ’s computers

suddenly became inoperable just days before their Court-ordered, scheduled inspection,

URZ responded that it was Spectrum’s fault for failing to conduct the inspection during

Hurricane Beryl, saying:

         What is dubious is that we originally agreed on a July date to conduct this
         inspection and you decided to abort on the morning of the agreed date in July.
         . . The notion that the roads were not passable is not entirely true because
         URZ’s representatives were at URZ’s facility ready to facilitate the
         inspection and ESI imaging last month on the agreed date. … It is also
         dubious that you could not conduct the inspections the day after or the day
         after that purportedly because your ESI vendor had suffered storm damage.

Id. at 3-4. URZ again demanded a one-day time limitation for Spectrum’s ESI vendor to

image URZ’s computers. Id. at 3. Spectrum agreed to attempt the single-day collection,

subject to a full reservation of rights. Id.

         On August 8, 2024, the ESI vendor imaged URZ’s phones and Spectrum’s counsel

inspected URZ’s business records. Exhibit 1 at ¶ 4. During the remainder of the 24-hour

period, Spectrum’s ESI vendor attempted to image URZ’s computers. Id. at ¶¶ 5–13.

However, the computers were severely damaged and only one of the computers could be

imaged. Id. Spectrum requested that URZ preserve the computers for further analysis.

Exhibit 5 at 1. Spectrum’s ESI vendor could not image the two email accounts because

URZ’s did not provide the second step of the two-step authentication process. Exhibit 1 at

¶¶ 14.




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        The very next day, despite having failed to fully comply with the ESI order, URZ

sought leave to file for summary judgment. Dkt. 121. Spectrum opposes that motion in a

separate contemporaneous filing.

        On August 13, 2024, Spectrum contacted URZ regarding the ESI discovery that was

unable to be collected due to URZ’s failure to provide the necessary access information.

Exhibit 6 at 5-6. Spectrum’s ESI vendor could not access the emails accounts because the

emails were locked with two-factor authentication. Id.; Exhibit 1 at ¶ 14. In order to access

the emails, the ESI vendor needed both the password and a separate one-time code sent to

a different device within the account holder’s control after the password is entered. Id. URZ

failed to respond to Spectrum’s request to coordinate a time for URZ to provide this one-

time code directly to the ESI vendor to enable him to gain access the email account.

Spectrum also raised the issue of the arbitrary time limit URZ imposed on the ESI vendor’s

collection because, due to the damage to the computers, at least one week would be

required to access the data. Exhibit 6 at 5-6.

        On August 14, 2024, URZ feigned confusion as to why Spectrum’s ESI vendor

needed access to the emails “again,” and demanded information about why it would take a

week to obtain the data from the inoperable computers. Id. at 3-5. Spectrum demanded that

URZ withdraw its motion for leave to file summary judgment, which URZ refused to do

before receiving additional information. Id. at 3-4.

        Finally, on August 19, 2024, URZ then argued that Spectrum returned the computers

“in what appears to be a much different condition than when it was given to [the] ESI

vendor,” and audaciously implied that the data could not be retrieved because of the ESI


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vendor’s inspection—despite the fact these computers were admittedly inoperable prior to

the collection. Id. URZ has no basis for this accusation and it is wrong. Exhibit 1, at ¶¶ 5-

14. Spectrum is again seeking the Court’s intervention because of URZ’s longstanding

and inexcusable refusal to comply with the Court’s numerous prior orders.

                                              V.
                                  LAW AND ARGUMENT

A.      Preliminary ESI Discovery Results Indicate Substantial Noncompliance.

        As described above, Spectrum could only perform limited ESI discovery to this

point. Specifically, Spectrum has only been able to pull data from cellular phones that URZ

uses for business purposes. Tellingly, even this limited data reveals that URZ has failed to

comply with prior discovery orders, and possesses, but has not produced, discoverable

information.

        First, the phone data revealed responsive documents involving Quick Fix that URZ

failed to produce. See Exhibit 1 at ¶ 16. These documents consist of invoices ranging from

September 2022 until June 2024.

        Second, the phone data revealed unproduced, responsive communications. These

communications are “WhatsApp” messages from October 2022 until June 2024 relating to

Quick Fix products. See id. URZ has maintained all along that it possessed no responsive

communications, which is demonstrably false. See Dkt. 112-1, 9:23–10:12

        Third, the phone data revealed numerous responsive photographs that URZ failed

to produce. See Exhibit 1 at ¶ 16. These photographs depict Quick Fix advertisements and

accounting documents, and even Quick Fix displayed on shelves.



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        Fourth, URZ’s business phones contain at least nine other email accounts that

appear to be used in URZ’s business. See id. URZ failed to disclose these email accounts

as required by the Court-ordered ESI inspection. Spectrum has not been provided access

to these email accounts.

        This responsive information is solely from the phones provided by URZ. Clearly,

URZ failed to search the phones for responsive information. Spectrum has not yet been

able to fully access URZ’s emails or computer data due to URZ’s obstructionism. Given

what was discovered on the phones and URZ’s concerted efforts to avoid discovery thus

far, the ESI examination (once completed) is almost certain to produce more unproduced

discovery. URZ has clearly failed to substantially comply with the Court’s orders.

B.      Why Sanctions are Appropriate.

        Under Fed. R. Civ. P. 37, the Court may “issue further just orders,” including a list

of available sanctions and “impos[ing] other appropriate sanctions” when a party disobeys

a discovery order. Fed. R. Civ. P. 37. The Court also has the inherent power to impose

sanctions for “bad faith conduct occurring during litigation.” Tex. v. Thirteen Pallets of

Indus. Oilfield Hoses & Five Pallets of Blowout Preventers, 519 F. Supp. 3d 409, 413 (S.D.

Tex. 2021) (Eskridge, J.).

         Specifically, Rule 37(b)(2)(A) provides that where a party “fails to obey an order

to provide or permit discovery . . . the court where the action is pending may issue further

just orders,” including: (1) “striking the pleadings in whole or in part;” and (2) rendering

“a default judgment against the disobedient party.” Fed. R. Civ. P. 37(b)(2)(A)(iii), (vi).

Additionally, a court may “order the disobedient party, the attorney advising that party, or


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both to pay the reasonable expenses, including attorney’s fees, caused by the failure” to

obey the court’s prior orders. Fed. R. Civ. P. 37(C). Sanctions under Rule 37 are

appropriate in the presence of certain factors, such as “willful disobedience, gross

indifference to the right of the adverse party, deliberate callousness, or gross negligence.”

Dorsey v. Acad. Moving & Storage, Inc., 423 F.2d 858, 860 (5th Cir. 1970).

         To enter a default judgment based on a party’s refusal to comply with the court’s

discovery order, the court must conclude that: “(1) the refusal to comply results from

willfulness or bad faith and is accompanied by a clear record of delay or contumacious

conduct[;] (2) the violation of the discovery order [is] attributable to the client instead of

the attorney[;] (3) the violating party’s misconduct substantially prejudice[d] the opposing

party[;] and (4) a less drastic sanction would not substantially achieve the desired deterrent

effect.” Moore v. CITGO Refining and Chemicals Co., L.P., 735 F.3d 309, 316 (5th Cir.

2013).

         Here, URZ has willfully and flagrantly disobeyed virtually all of the Court’s

multiple orders, wasting the Court’s and Spectrum’s resources. See, e.g., Dkt. 46, Dkt. 63,

Dkt. 120. From the beginning, URZ has delayed these proceedings and obfuscated the truth

as to the documents in its possession. URZ initially maintained that it had no responsive

documents. Only, after being twice compelled to produce documents, it produced six pages

of documents. Later, in response to another motion for sanctions, URZ produced an

additional forty-seven pages. Now, the limited returns of ESI discovery from URZ’s phones

demonstrate URZ is continuing to withhold responsive documents and communications.




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        URZ has had over a year of multiple chances and still refuses to comply with the

Court’s discovery orders. The Court issued its most recent Order on July 5, 2024, stating

unequivocally that URZ “must fully comply with this Court’s prior Orders,” and the

“[f]ailure to fully comply will be met with harsh sanctions.” Dkt. 120. URZ has not fully

complied (again) and harsh sanctions are warranted. URZ deserves no more chances.

URZ’s willful discovery abuses support imposing severe sanctions under Rule 37. See

Calsep A/S v. Dabral, 84 F.4th 304, 313 (5th Cir. 2023) (“[D]iscovery delays are serious,

especially when they are part of pattern.”).

        Further, the blame for the significant delay and the associated expense lies squarely

at URZ’s feet and not its counsel’s. URZ did not provide the necessary information for the

ESI collection, which was solely in URZ’s possession, not its counsel’s. URZ’s suddenly

inoperable computers were in URZ’s custody and control, not its counsel’s. Moreover, the

Court ordered URZ to preserve the ESI at issue more than a month before the computers

suddenly became inoperable (in addition to URZ’s independent duty to preserve evidence).

Dkt. 118. There is no evidence that URZ’s willful discovery violations were at the direction

of its counsel. To the contrary, the limited ESI discovery performed so far demonstrates

that URZ knew of the Court’s orders. The Court’s ESI discovery order was found on URZ’s

owner’s phone. Photographs of Spectrum’s Subpoena and URZ’s Responses to Spectrum’s

Discovery Requests were also found on URZ’s phones. See Exhibit 1 at ¶ 16.

        Spectrum has been severely prejudiced due to URZ’s persistent misconduct. After

almost a eighteen months, Spectrum is still incurring significant attorneys’ fees chasing

URZ’s documents evidencing the sale and/or distribution of counterfeit Quick Fix


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products. Had URZ responded to the subpoena served in March 2023 as required, this

entire sideshow could have been avoided. Instead, Spectrum still has not been able to fully

conduct the Court ordered ESI collection due to URZ’s continued pattern of

gamesmanship, which has prejudiced Spectrum’s ability to obtain documents relevant to

its claims. Moreover, with URZ’s two computers now “inoperable”—which occurred after

URZ’s compliance with the Court’s most recent order was required—Spectrum may never

get the discovery to which it is entitled. The significant prejudice Spectrum has suffered

due to URZ’s conduct warrants severe sanctions.

        Perhaps fearing sanctions, URZ has incredibly accused Spectrum’s ESI vendor of

allegedly causing a loss of data. URZ acknowledged its computers are “inoperable.”

Spectrum’s ESI vendor took appropriate measures to retrieve any available data on the

inoperable computers in the 24-hour period URZ would permit the collection. Exhibit 6 at

1-2. No data could be retrieved from one computer during the limited period of time.

Exhibit 1, at ¶ 10. But, given adequate time, the ESI vendor is optimistic some data can be

retrieved. Exhibit 1, at ¶ 15. But URZ has refused the request for a longer time to inspect

the computer. Exhibit 6 at 1-2.

C.      URZ’s pattern of avoiding discovery and violating this Court’s discovery orders
        justify sanctions of the highest severity. This Court has previously imposed lesser
        sanctions, yet clearly, URZ is not deterred. What Sanctions are appropriate.

        Spectrum respectfully requests an order granting the following sanctions:

        1.        that, within 24 hours, URZ provide to Spectrum all the information required

to collect each of the eleven email accounts and cooperate in allowing Spectrum access,

including (without limitation) timely providing the two-step authentication information;


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        2.        that Spectrum’s ESI vendor be allowed to collect URZ’s two inoperable

computers and keep the computers until he can complete his collection efforts, including

efforts to determine the reason the computers are inoperable and obtain any data that can

be retrieved;

        3.        that URZ pay all costs of Spectrum’s ESI vendor incurred to date, which

amount shall be submitted to the Court within five business days;

        4.        that URZ pay all subsequent costs of Spectrum’s ESI vendor incurred to

obtain URZ’s compliance with the ESI discovery ordered by the Court;

        5.        that URZ pay the attorneys’ fees incurred by Spectrum to date relating to

URZ’s failure to comply with its discovery obligations, which amount shall be submitted

to the Court within five business days;

        6.        that URZ fully and timely cooperate in obtaining all of the ESI discovery

subject to the Court’s prior orders;

        7.        that URZ’s defenses and counterclaims be stricken with prejudice; and

        8.        that Spectrum be granted default judgment against URZ.

                                               VI.
                            CONCLUSION AND PRAYER FOR RELIEF

        For the foregoing reasons, Spectrum respectfully requests that the Court grant this

Motion and order the relief requested in this Motion, as set forth above and in the proposed

order accompanying this Motion. Spectrum further seeks all further relief, in law and

equity, to which it is entitled.




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DATED: August 30, 2024              Respectfully submitted,

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                          CERTIFICATE OF WORD COUNT

       In accordance with Section 18(c) of the Court’s procedures, I certify that this
document contains 4,703 words, exclusive of the caption, signature block and certificates
of service and conference.
                                         /s/ Courtney Ervin
                                         Courtney Ervin


                            CERTIFICATE OF SERVICE

      I hereby certify that on August 30, 2024, a true and correct copy of this Response
was served on all counsel of record via the Court’s ECF Noticing System.


                                         /s/ Courtney Ervin
                                         Courtney Ervin




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